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                                                                                               United States Bankruptcy Court
                                                                                                    Southern District of Texas

                                                                                                       ENTERED
                      UNITED STATES BANKRUPTCY COURT FOR THE                                         August 11, 2021
                            SOUTHERN DISTRICT OF TEXAS                                              Nathan Ochsner, Clerk

                                 HOUSTON DIVISION

IN RE:                                                  §             BANKRUPTCY CASE NO.
                                                        §
KORNBLUTH TEXAS, LLC                                    §             21-32261
                                                        §
DEBTOR                                                  §             Chapter 11

  AGREED ORDER EXTENDING THE HEARING ON AUTHORIZATION FOR FINAL
    USE OF CASH COLLATERAL AND INTERIM USE OF CASH COLLATERAL


        The parties, WFCM 2016-LC25 WEST BAY AREA BOULEVARD, LLC., the Small

Business Administration and Kornbluth Texas, LLC, are in agreement to extend the hearing date

on authorization for final use of cash collateral from July 21, 2021 until after August 16, 2021, so

that WFCM 2016-LC25 WEST BAY AREA BOULEVARD, LLC. may take the Debtor’s

representative’s deposition. Accordingly


        It is ORDERED that the Debtor, Kornbluth Texas, LLC is authorized to continue use of cash collateral

through and including the date set of the final hearing on use of cash collateral pursuant to the attached monthly

budget which is set out as Exhibit “A”. It is further


        ORDERED that the United States and WFCM 2016-LC25 WEST BAY AREA
BOULEVARD, LLC shall receive replacement liens encumbering property of the estate acquired
after the petition date in the same extent, validity, and priority to which their liens attached before
the petition. It is further


        ORDERED that the Debtor, Kornbluth Texas, LLC, may use cash collateral on an interim

basis pending final hearing hereof, to pay payroll, utilities, supplies, franchise fees, State and local

tax, internet and cable, maintenance supplies, food and beverage supplies, insurance, 401k fees, and

uniforms.
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       Notwithstanding anything herein, all post-petition fees owed by Debtor to Holiday

Hospitality Franchising, LLC (“HHF”) pursuant to that certain Holiday Inn® Hotel Change of

Ownership License Agreement dated October 20, 2016 (as may have been amended, the “License

Agreement”) between HHF, as licensor, and Debtor, as licensee, shall be paid in full on a monthly

basis and in the ordinary course, and shall not be limited by the Budget.


       The August 16, 2021, hearing is continued to August 30, 2021 at 1:00 p.m.




            August11,
            August 02,2021
                       2019




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APPROVED AND ENTRY REQUESTED:


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_________________________________________
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                            EXHIBIT "A"
                       Kornbluth Texas, LLP
                             Budget

Income                          Total 1-14 Days      30 days
Gross Monthly Income                   122,000.00       279,000.00
                        Total          122,000.00       279,000.00

Expenses                        Total 1-14 Days      30 days
Employee Payroll                        24,000.00        49,000.00
State and Local Tax                     13,000.00        25,000.00
Utilities                                 7,500.00       15,000.00
Supplies                                  7,500.00       15,000.00
Maintenance Supplies                      5,000.00       10,000.00
Franchise                                 8,000.00       15,000.00
Internet & Cable                          2,500.00        5,000.00
Insurance                                   600.00          600.00
Food & Beverage Supplies                  4,500.00        9,000.00
Uniforms                                    125.00          250.00
Unexpected Expense                        2,500.00        5,000.00
401K                                      1,000.00        2,000.00
               Total Expenses           76,225.00       150,850.00
                   Net Income           45,775.00       128,150.00
